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Exhibit Application for Compensation for Accountant for Chapter 7 Trustee Page 1 of 19



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                          :        CHAPTER 7
                                                :
ALL STAR HEALTH CARE, INC. A,                   :        CASE NO. 17-54115-SMS
GEORGIA CORPORATION,                            :
                                                :
           Debtor.                              :
                                                :

         FIRST AND FINAL APPLICATION FOR ALLOWANCE OF
 COMPENSATION OF HAYS FINANCIAL CONSULTING, LLC, AS ACCOUNTANTS
                    TO THE CHAPTER 7 TRUSTEE

         COMES NOW Hays Financial Consulting, LLC (“HFC” or “Applicant”), accountants

to S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the above-styled case, and, pursuant to 11

U.S.C. § 330 and Bankruptcy Rule 2016, files this first and final application (“Application”)

seeking final allowance of compensation in the amount of $6,687.50 and reimbursement of

expenses in the amount of $1,060.20 for the period from April 3, 2017 through and including

September 17, 2020 (the “Application Period”). In support hereof, Applicant shows as follows:

                                                    1.

         Debtor initiated this case by filing a voluntary petition for relief under Chapter 7 of Title

11 of the United States Code on March 6, 2017 (the “Petition Date”).

                                                    2.

         Shortly thereafter, the United States Trustee appointed Trustee as the Chapter 7 Trustee

in this case.
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                                                  3.

         On April 6, 2017, Trustee filed an Application to Employ Hays Financial Consulting,

LLC as Accountants to the Chapter 7 Trustee [Doc. No. 13], which was approved by an Order

entered on April 12, 2017 [Doc. No. 14].

                                                  4.

         Pursuant to this Application, Applicant seeks final approval, allowance, and payment

pursuant to §§ 330 and 331 of the Bankruptcy Code of compensation for services rendered as

accountants for the Trustee incurred in connection therewith during the Application Period.

                                                  5.

         For the period covered by this application, HFC devoted a total of not less than 28.5

hours in rendering services as accountants to the Trustee. Applicant has not previously been

allowed or paid any compensation for the period covered by this application. Summaries of

hours spent by subject area and by professional are attached as Exhibit “A”.

                                                  6.

         The Services of the Applicant during the Application Period are summarized by category

below.

                (a)    Accounting. This category includes efforts of the Applicant in obtaining

         the Debtor’s books and records located at from the Debtor’s office.

                (b)    Asset Analysis & Recovery – Accounts Receivable. This category

         involves time by Applicant pursuing the outstanding receivables owed by the Department

         of Veterans Affairs, Georgia Department of Community Affairs and other receivables

         including contacting same and setting up online access to each.
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               (c)     Fee / Employment Applications & Objection. This category includes

       the Applicants efforts to prepare this first and final fee application.

               (d)     Tax Issues. This category includes activity by the Applicant including

       contacting the Debtor representative re prior year tax returns, determine information

       necessary for preparation of returns, contacting taxing authority, arranging for the

       preparation of final W-2s and verifying claims asserted by the IRS and offset by amounts

       owed by Department ofVeterans Affairs.

                                                   7.

       Applicant shows that all services were necessary to assist the Trustee in the proper and

effective administration of the Debtor’s estate and the exercise of the powers of the Trustee.

Applicant shows that the fair and reasonable value of such services, and the costs of comparable

services in a case not proceeding under the Bankruptcy Code, is not less than $6,687.50, based

primarily on the normal hourly rates of providing such services and calculated using the

“lodestar” calculation of reasonable hourly rates multiplied by the number of hours actually

expended, as summarized on Exhibit “A”. The time expended and services performed by HFC

are duly itemized and set forth in Exhibit "B" attached hereto and by reference incorporated

herein and made part of this Application.

                                                   8.

       Applicant shows that all services for which compensation during this Application Period

is requested have been actually provided to the Debtors and/or the Trustee, and to no other

parties, and have been necessary for the proper and effective administration of this case and for

the benefit of the Debtor’s estate and its creditors.
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                                                  9.

       Applicant’s employees have substantial experience and expertise in providing financial

and accounting services in bankruptcy cases and to fiduciaries in such cases. Applicant’s

employee hourly rates are fair and reasonable and the same as the cost for such services other

than in a bankruptcy case.

                                                  10.

       The compensation requested is allowable pursuant to the twelve factor test (the “Johnson

Factors”) set forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir.

1974), as modified and made applicable to bankruptcy cases by the Eleventh Circuit Court of

Appeals in Grant v. George Schumann Tire & Battery Co., 908 F.2d 874 (11th Cir. 1990). The

Johnson Factors and their applicability in these cases are as follows:

               (a)     Time and Labor Required:         HFC expended 28.5 hours in performing

       services as accountants to the Trustee during the Application Period. The billing rates of

       the various professionals and other personnel who have performed services for the

       Committee are detailed in HFC’s billing statements, which are attached hereto as Exhibit

       “A”.

               (b)     Novelty and Difficulty of Questions Presented: The work performed by

       HFC has involved issues of varying complexity, as set forth in substantial detail in the

       billing statements attached to this Application.

               (c)     Skill Requisite to Perform Professional Services: The Trustee selected

       HFC as its accountants because HFC’s professionals possess substantial expertise and

       experience in bankruptcy and related fields and are well-qualified to perform professional

       services.
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               (d)    Preclusion of Other Employment Due to Acceptance of the Cases:

       Professionals of HFC have devoted time and resources to these cases, to the possible

       preclusion of involvement in other matters.

               (e)    Customary Fees for the Type of Services Rendered: HFC believes that the

       fees requested and the hourly rates set forth herein are consistent fees typically charged

       for the type of services rendered in cases of this magnitude and complexity. The hourly

       rates charged by HFC in this Application are comparable to the rates that HFC would

       charge to a non-bankruptcy client for work of a similar nature and complexity.

               (f)    Whether the Fee is Fixed or Contingent: Pursuant to section 330(a) of the

       Bankruptcy Code, HFC’s fee is subject to Court approval, and is primarily based upon

       hourly rates and does not involve any fixed or flat fees. Compensation is “contingent”

       only in the sense that there are risks of non-allowance or non-payment.

               (g)   Time Limitations Imposed by the Client or Other Circumstances: Certain

       tax filing deadlines have been applicable herein.

               (h)    The Amount Involved and Results Obtained: HFC shows that the Trustee,

       with the assistance of all professionals involved, has achieved a successful result in this

       case.

               (i)    The Experience, Reputation, and Ability of the Professional: HFC has

       extensive experience in bankruptcy matters. Its reputation and ability are well known to

       the Court.

               (j)    Undesirability of the Case:    This factor is inapplicable to the present

       Chapter 7 cases.
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               (k)       Nature and Length of Professional Relationship with the Client: HFC

       was employed by the Trustee as his accountants in this bankruptcy case. Thus, the

       professional relationship is an ongoing one.

               (l)    Awards in Similar Cases: HFC is regularly awarded compensation in

       Chapter 7 and Chapter 11 cases on the same basis as requested herein.

                                                11.

       In connection with the provision of services as set forth herein above, Applicant has

incurred expenses in the amount of $1,060.20. Expenses are summarized on Exhibit “A” and

itemized on Exhibit “C” attached hereto and incorporated herein. Applicant seeks allowance of

said expenses as reasonable and necessarily incurred.

                                                12.

       No agreement or understanding exists between HFC and any other person for the sharing

of compensation to be received for services rendered in connection with this case. All services

for which compensation is requested were performed for the Trustee and the estate and not on

behalf of any committee, creditor or any other person or persons.

                                                13.

       Based on the foregoing, Applicant seeks final allowance of $6,687.50 as compensation

for the period covered by this Application. Applicant shows that compensation in such amount

is reasonable compensation based on the nature, the extent, and the value of services rendered,

the time spent to provide such services, and the cost of comparable services other than in a

bankruptcy case.
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                                                 14.

       Attached hereto as Exhibit “D” is a Declaration of S. Gregory Hays, Managing Principal

of Applicant, confirming the facts set out in the Application and exhibits hereto.

       WHEREFORE, Applicant respectfully prays:

       a.      That Applicant be allowed final compensation in the amount of $6,687.50 as and

               for the reasonable value of services rendered in connection with its retention as

               accountants for the Trustee for the Application Period;

       b.      That Applicant be allowed the sum of $1,060.20 for the reimbursement of out-of-

               pocket expenses incurred in this case during the Application Period;

       c.      that the Court authorize payment of amounts allowed as deemed appropriate and

               equitable by the Court from the fund available in the bankruptcy estate; and

       d.      that the Court grant such other and further relief as may be just and proper.



       Respectfully submitted, this 17th day of September, 2020.


                                               /s/ S. Gregory Hays
                                              S. Gregory Hays

Hays Financial Consulting, LLC
2964 Peachtree Rd, NW Ste. 555
Atlanta, Georgia 30305
(404) 926-0060
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                                 Exhibit A
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                            Hays Financial
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                                     for Accountant      LLC 7 Trustee Page 9 of 19
                                                    for Chapter
                                        2964 Peachtree Road
                                              Suite 555
                                       Atlanta, GA 30305-2153

 All Star Health Care, Inc.
 Case # 17-54115-BEM



                              For the Period from   4/3/2017    to 9/17/2020

  September 17, 2020




             Professional Services

                                                                               Hours    Amount

             Accounting                                                        15.20    2,822.50
             Asset Analysis & Recovery - Accounts Receivable                    8.00    2,275.00
             Fee / Employment Applications & Objection                          1.50      450.00
             Tax Issues                                                         3.80    1,140.00
               For professional services rendered                              28.50 $6,687.50

             Additional Charges :

             Document Storage                                                            960.00
             Expense Reports                                                              69.61
             Federal Express                                                              23.15
             Postage                                                                       7.44
               Total costs                                                             $1,060.20


               Total amount of this bill                                               $7,747.70
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                            Hays Financial Consulting, LLC
                                                2964 Peachtree Road
                                                      Suite 555
                                               Atlanta, GA 30305-2153



 All Star Health Care, Inc.
 Case # 17-54115-BEM



                                     For the Period from            4/3/2017   to 9/17/2020
  September 17, 2020



             Professional Services

                                                                                              Hrs/Rate         Amount

             Dwaine A. Butler                                                                   13.50          2,187.50
                                                                                             162.04/hr
             James R. Jennings, CPA                                                               0.10            30.00
                                                                                             300.00/hr
             Scott S. Askue                                                                     14.90          4,470.00
                                                                                             300.00/hr
                For professional services rendered                                                28.50       $6,687.50


              Actual Blended Rate/Hour

              Capped Blended Rate/Hour

              Adjustment to Invoice

             Additional Charges :

             Document Storage                                                                                    960.00
             Expense Reports                                                                                      69.61
             Federal Express                                                                                      23.15
             Postage                                                                                               7.44
                Total costs                                                                                   $1,060.20


                Total amount of this bill                                                                     $7,747.70




            CFE - Certified Fraud Examiner                                     CPA - Certified Public Accountant
            CIRA - Certified Insolvency and Restructuring Advisor              PHR - Professional in Human Resources
            CTP - Certified Turnaround Professional
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                                 Exhibit B
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                                     for Accountant      LLC 7 Trustee Page 12 of 19
                                                    for Chapter
                                          2964 Peachtree Road
                                                Suite 555
                                         Atlanta, GA 30305-2153

  All Star Health Care, Inc.
  Case # 17-54115-BEM



                               For the Period from      4/3/2017   to 9/17/2020
   September 17, 2020




              Professional Services

                                                                                   Hrs/Rate      Amount

                Accounting

    4/7/2017 SSA     Drafted letter to SunTrust Bank regarding freezing bank           0.90       270.00
                     accounts and online access to same.                             300.00/hr
   4/10/2017 DAB     Traveled to Kennesaw, Ga. Traveled from Kennesaw,                 1.00        87.50
                     Ga. to Marietta business location. Billed at one-half rate.      87.50/hr
              DAB    Met with Ashley Davis at the Debtor's business and                3.00       525.00
                     document storage location. Reviewed location and                175.00/hr
                     recorded contents. Retrieved and reviewed mailed
                     correspondence. Reviewed and inspected the business
                     location for determination of contents and business
                     records. Met with landlord and discussed lease and
                     abandonment of remaining contents.
   4/13/2017 DAB     Drafted email to Scott Askue and the Trustee regarding            0.80       140.00
                     inspection of business location, document storage               175.00/hr
                     location, and correspondence with Debtor. Reviewed
                     mailed correspondence and handled as appropriate.
                     Downloaded photographs of contents and loaded to the
                     directory.
   4/18/2017 SSA     Reviewed produced documents. Prepared analysis of                 1.00       300.00
                     IRS levies.                                                     300.00/hr
   4/24/2017 SSA     Reviewed for status of online access to bank statements.          0.30        90.00
                     Drafted email to the Trustee regarding same.                    300.00/hr
    5/2/2017 SSA     Telephone call from Suntrust Bank regarding access to             0.30        90.00
                     bank records.                                                   300.00/hr
   5/22/2017 SSA     Drafted email to banker at Suntrust regarding status of           0.20        60.00
                     accounts.                                                       300.00/hr
    8/3/2017 DAB     Telephone call to Ashley Davis regarding coordination of          0.20        35.00
                     removal of business records from the storage location.          175.00/hr
    8/4/2017 DAB     Reviewed and responded to emails from Scott Askue                 0.20        35.00
                     regarding the retrieval of business records from storage        175.00/hr
                     location. Telephone call to Ashley Davis regarding
                     same. Drafted email to Mrs. Davis regarding same.
   8/14/2017 DAB     Reviewed and responded to emails from Ashley Davis                0.20        35.00
                     regarding coordination of document removal and transfer.        175.00/hr
   8/15/2017 DAB     Emails to and from Ashley Davis regarding removal and             0.20        35.00
                     storage of business records. Discussed same with Scott          175.00/hr
                     Askue.
   8/16/2017 DAB     Reviewed and responded to email from Ashley Davis                 0.20        35.00
                     regarding coordination of business records removal and          175.00/hr
                     retention.
   8/18/2017 DAB     Correspondence to and from Ashley Davis regarding                 0.50        87.50
                     removal of business records from the storage facility.          175.00/hr
                     Prepared for removal.
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                                                                                Hrs/Rate      Amount

   8/21/2017 DAB Reviewed and responded to email from Ashley Davis                  0.20        35.00
                 regarding removal of business records from the storage           175.00/hr
                 location.
   8/29/2017 DAB Reviewed and responded to email from Ashley Davis                  0.20        35.00
                 regarding the retrieval of business records.                     175.00/hr
   9/19/2017 DAB Reviewed email from Scott Askue regarding coordination             0.20        35.00
                 of document retrieval with Debtor. Telephone call to             175.00/hr
                 Ashley Davis regarding same.
   9/27/2017 DAB Reviewed and responded to emails from Ashley Davis                 0.20        35.00
                 regarding coordination of document retrieval and transfer.       175.00/hr
   9/28/2017 DAB Traveled to and from Kennesaw, GA. Billed at one-half              1.00        87.50
                 rate                                                              87.50/hr
             DAB Met with Ashley Davis at the document storage facility to          2.00       350.00
                 retrieve business records. Loaded records and                    175.00/hr
                 transported documents to Trustee's secure storage
                 facility. Logged documents into storage database.
                 Discussed issues with Scott Askue regarding document
                 inventory and billing for storage.
  10/26/2017 DAB Drafted email to and reviewed email from Ashley Davis              0.20        35.00
                 regarding removal of remaining business records from             175.00/hr
                 the storage facility.
    3/5/2018 DAB Reviewed and responded to emails from Ashley Davis                 0.20        35.00
                 regarding coordination of document pickup and transfer.          175.00/hr
    3/9/2018 DAB Met with Cecil McElroy and Ashley Davis to retrieve and            2.00       350.00
                 transport the business records. Supervised removal and           175.00/hr
                 transport of documents to the storage facility. Assisted
                 with loading of files and secured documents.

                     Subtotal                                                      15.20      2,822.50

                Asset Analysis & Recovery - Accounts Receivable

    4/3/2017 SSA     Review file and responded to email from the Trustee            0.60       180.00
                     regarding medical claim submission. Telephone call to        300.00/hr
                     Dan Raskin regarding medical records. Drafted summary
                     of call.
   5/23/2017 SSA     Reviewed incoming mail. Set up bank account and                2.20       660.00
                     updated debtor's banking information in the SAM.gov          300.00/hr
                     system for incoming payments from the Veterans
                     Administration. Drafted emails to Ashley Davis regarding
                     same.
   6/14/2017 SSA     Drafted email to Dan Raskin regarding status of                0.20        60.00
                     receivable collections.                                      300.00/hr
   6/22/2017 SSA     Reviewed submitted medical claims and pleadings.               0.80       240.00
                     Drafted email to Community Care regarding processing         300.00/hr
                     of same.
   6/23/2017 SSA     Drafted email to Chuck Pettit regarding outstanding            0.20        60.00
                     receivables.                                                 300.00/hr
    7/7/2017 SSA     Drafted emails to and reviewed emails from Chuck Pettit        0.30        90.00
                     regarding Medicaid claim.                                    300.00/hr
    8/4/2017 SSA     Reviewed, researched and responded to emails                   0.60       180.00
                     regarding payment of Medicaid claims. Drafted email to       300.00/hr
                     Ashley Davis regarding same.
   8/18/2017 SSA     Drafted email to the enrollment section of the Georgia         0.40       120.00
                     Department of Community Service regarding status of          300.00/hr
                     claim payments.
   8/28/2017 SSA     Drafted email to the Georgia Community Health                  0.30        90.00
                     regarding status of payment.                                 300.00/hr
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                                                                                Hrs/Rate       Amount

    9/7/2017 SSA   Reviewed file. Researched for proper contact. Drafted            0.40        120.00
                   email to Taesha Ward with Department of Community              300.00/hr
                   Health regarding status of payment.
               SSA Drafted email to the Georgia Department of Community             0.20         60.00
                   Services regarding payment of claim.                           300.00/hr
   9/13/2017   SSA Drafted email to Taesha Ward regarding payment from              0.20         60.00
                   DCH.                                                           300.00/hr
   9/14/2017   SSA Drafted email to enrollment with Dept of Community               0.30         90.00
                   Health regarding status of payment.                            300.00/hr
   9/20/2017   SSA Drafted email to Taesha Ward with the State of Georgia           0.30         90.00
                   Department of Community Health regarding status of             300.00/hr
                   Medicaid claims.
    2/5/2019   DAB Reviewed bank statements and transaction records for             1.00        175.00
                   the determination of specific transfers. Downloaded            175.00/hr
                   several bank statements and check copies from
                   accounting software.

                     Subtotal                                                       8.00       2,275.00

                 Fee / Employment Applications & Objection

   9/17/2020 SSA     Drafted final fee application and prepared exhibits for        1.50        450.00
                     same.                                                        300.00/hr

                     Subtotal                                                       1.50        450.00

                 Tax Issues

    4/6/2017 SSA     Discussed tax issues with Jim Jennings. Drafted email to       0.70        210.00
                     SunTrust regarding access to bank account.                   300.00/hr
               SSA   Drafted email to Ashley Davis regarding status of 2016         0.20         60.00
                     tax return.                                                  300.00/hr
    4/7/2017 SSA     Drafted email to Ashley Davis regarding 2015 tax return.       0.20         60.00
                                                                                  300.00/hr
   4/13/2017 SSA     Drafted email to Ashley Davis regarding the preparation        0.30         90.00
                     and filing of the 2016 tax returns.                          300.00/hr
    5/2/2017 SSA     Reviewed prior emails and drafted email to Jim Jennings        0.30         90.00
                     regarding status of tax returns and information for          300.00/hr
                     completion of same.
    7/7/2017 JRJ     Inquired with Debtor principal regarding status of             0.10         30.00
                     obtaining 2015 information needed to prepare tax return      300.00/hr
                     for All Star Health.
   1/25/2018 SSA     Prepared and sent notice to Cobb County Tax                    0.30         90.00
                     Assessor's offer regarding debtor being out of business.     300.00/hr
    2/6/2018 SSA     Reviewed file and drafted email to Ashley Davis                0.30         90.00
                     regarding W-2s for year 2017.                                300.00/hr
   3/28/2018 SSA     Reviewed tax issues. Telephone call and emails to ADP          1.00        300.00
                     regarding payroll reporting and taxes owed. Reviewed         300.00/hr
                     IRS notices and claim filed.
   3/29/2018 SSA     Telephone call from IRS agent regarding claim and              0.20         60.00
                     adjusted balance.                                            300.00/hr
  10/18/2018 SSA     Telephone call from IRS agent regarding proof of claim         0.20         60.00
                     and any adjustments for further setoffs from Veterans        300.00/hr
                     Administration collections.

                     Subtotal                                                       3.80       1,140.00

                 For professional services rendered                                28.50      $6,687.50
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                                 Exhibit C
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                            Hays Financial Consulting, LLC
                                          2964 Peachtree Road
                                                Suite 555
                                         Atlanta, GA 30305-2153



 All Star Health Care, Inc.
 Case # 17-54115-BEM

                                             Accountants to the Trustee

                                 For the Period from    4/3/2017   to 9/17/2020
  September 17, 2020


                                                                                  Amount

                 Expenses

   4/10/2017   Expense Report                                                       33.59
   4/30/2017   Postage                                                               2.68
    5/8/2017   Postage-mail forwarding                                               2.00
   5/31/2017   Postage                                                               1.84
   7/31/2017   Postage                                                               0.46
   9/30/2017   Expense Report                                                       36.02
               Document storage                                                     15.00
  10/31/2017   Document storage                                                     15.00
  11/30/2017   Document storage                                                     15.00
  12/31/2017   Document storage                                                     15.00
   1/31/2018   Document storage                                                     15.00
               Postage                                                               0.46
               FedEx                                                                23.15
   2/28/2018   Document storage                                                     15.00
   3/31/2018   Document storage                                                     30.00
   4/30/2018   Document storage                                                     30.00
   5/31/2018   Document storage                                                     30.00
   6/30/2018   Document storage                                                     30.00
   7/31/2018   Document storage                                                     30.00
   8/31/2018   Document storage                                                     30.00
   9/30/2018   Document storage                                                     30.00
  10/31/2018   Document storage                                                     30.00
  11/30/2018   Document storage                                                     30.00
  12/31/2018   Document storage                                                     30.00
   1/31/2019   Document storage                                                     30.00
   2/28/2019   Document storage                                                     30.00
   3/31/2019   Document storage                                                     30.00
   4/30/2019   Document storage                                                     30.00
   5/31/2019   Document storage                                                     30.00
   6/30/2019   Document storage                                                     30.00
   7/31/2019   Document storage                                                     30.00
   8/31/2019   Document storage                                                     30.00
   9/30/2019   Document storage                                                     30.00
  10/31/2019   Document storage                                                     30.00
  11/30/2019   Document storage                                                     30.00
  12/31/2019   Document storage                                                     30.00
   1/31/2020   Document storage                                                     30.00
   2/29/2020   Document storage                                                     30.00
   3/31/2020   Document storage                                                     30.00
   4/30/2020   Document storage                                                     30.00
   5/31/2020   Document storage                                                     30.00
   7/31/2020   Document storage                                                     30.00
   8/31/2020   Document storage                                                     30.00

                     Subtotal                                                     1,060.20
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                                                                                Amount
                Total costs                                                    $1,060.20
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                                 Exhibit D
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                         :        CHAPTER 7
                                                :
 ALL STAR HEALTH CARE, INC. A,                  :        CASE NO. 17-54115-SMS
 GEORGIA CORPORATION,                           :
                                                :
            Debtor.                             :
                                                :

                                          DECLARATION

 I, S. Gregory Hays, declare under penalty of perjury that:

    1. I am the Managing Principal at Hays Financial Consulting, LLC (“HFC”) and have

          knowledge of the facts set forth herein.

    2. The facts set out in the foregoing First and Final Application for Allowance of

          Compensation of Hays Financial Consulting, LLC as Accountants to the Chapter 7

          Trustee and in the exhibits attached thereto are true and correct to the best of my

          knowledge, information and belief. Those facts are known to me personally and by

          business records of HFC, maintained in the ordinary course of business, including time

          and reimbursement records made by personnel at HFC.


                                                      /s/ S. Gregory Hays
                                                     S. Gregory Hays
